Case 01-01139-AMC Doc 21752-2 Filed 05/19/09 Page 1of 4

EXHIBIT B

REIMBURSEMENT AGREEMENTS

Bank of Amerieeeoay*129-AMc Doc 21752-2 Filed 05/19/09 Page 2 of 4
For Bank of America Use Only

Application and Agreement for Standby Letter of Credit

. . L/C No.
TO: Bank of America, N.A. (“Bank of America”) °
A. Application.
1. (“Applicant”) requests Bank of America to issue an irrevocable standby letter of
credit (“Letter of Credit”) as follows:
[_] Full text teletransmission (1 Airmail with brief preliminary teletransmission advice ] Airmail (J Courier
2. Applicant Address: 3. For Account of (Name and address, if different from Applicant):
4. Advising Bank: 5. In favor of (Beneficiary Name and Address):
6. Amount: (

(in words and figures)

Currency

(if left blank, U.S. Dollars)

Expiration Date. Drafts to be drawn on and presented at Bank of America’s Address set forth in the Letter of Credit on or before:

[1  ifthis box is marked, Applicant authorizes Bank of America to effect payment of any sums due under this Application and Agreement by
means of debiting Applicant’s account with Bank of America set forth below. This authorization does not effect the obligation of Applicant
to pay such sums when due, if there are insufficient funds in such account to make such payment when due, or if Bank of America fails to
debit the account, and this authorization does not affect any setoff rights of Bank of America at law or in equity. Applicant’s account number

with Bank of America is

7. Available by drafts drawn at sight on Bank of America when accompanied by the following documentation:
a. The original Letter of Credit.

b. The signed statement of the Beneficiary worded as follows (state wording that is to appear i in the statement accompanying the draft; specify if
such wording must be exact):

8. Special Instructions:

B. Agreement.

in consideration of Bank of America’s issuing the Letter of Credit at the request of
Applicant, Applicant agrees to the following:

1. Applicant Payments.

(a) Applicant shall pay Bank of America, on demand, all amounts paid by Bank of
America under or in respect of the Letter of Credit.

(b) On each fee payment date, so long as any undrawn amount of the Letter of Credit
remains available, Applicant shall pay Bank of America a Letter of Credit fee. The fee
payment date(s) shall be the date(s) as Applicant and Bank of America may agree, or in the

of such agi the fee p date shall be the date on which Bank of
America issues the Letter of Credit. | The fee shall be at such rate per annum as Applicant and
Bank of America may agree or, in the absence of such agr at the rate ily
charged by Bank of America at the time such fee is payable, based upon Applicant’s
creditworthiness, as determined by Bank of America in its sole discretion. The applicable
Letter of Credit fee shall be calculated and payable on the undrawn amount of the Letter of
Credit as of each fee payment date, and shall be for the period commencing on such fee
payment date and ending on the day preceding the next fee payment date (or the expiration
date of the Letter of Credit, as the case may be), both dates inclusive. The Letter of Credit
fee will be computed on the basis of a 360-day year and actual days elapsed. Bank of
America shall not be required to refund any portion of the Letter of Credit fee paid for any
period during which (a) the Letter of Credit expires or otherwise terminates or (b) the
undrawn amount of the Letter of Credit is reduced by drawings or by amendment.

(c) } Applicant shall pay Bank of America, on demand, commissions and fees for

to, pay under, extensions of or lation of the Letter of Credit, and
other services in the amounts Applicant and Bank of America may agree or, in the absence
of such agi in the ily charged by Bank of America on the date of
Bank of America’s demand.

(d) All payments and deposits of any kind by Applicant under this Application and
Agreement, including prepayments, shall be made at the banking center or office Bank of
America may designate from time to time. Bank of America shall have no obligation to pay
Applicant interest on any such payment, prepayment or deposit made by Applicant under
this Application and Agreement.

Case 01-01139-AMC Doc 21752-2__ Filed 05/19/09 Pa

America from paying any amount under the Letter of Credit. Additionally, Applicant
indemnify and hold Bank of America harmless from and against all claims, losses, damages,
suits, costs or exp (i ble attorneys’ fees and allocated costs of in-house
counsel, and legat expenses) arising out of Applicant’s failure to timely procure licenses or
comply with applicable laws, regulations or rules, or any other conduct or failure of
Applicant relating to or affecting the Letter of Credit.

{b) If any award, judgment or order is given or made for the payment of any amount
due under this Application and Agreement and such award, judgment or order is expressed
in a currency other than the currency ired under this Application and Agi
Applicant shall indemnify Bank of America against and hold Bank of America harmless
from all loss and damage incurred by Bank of America as a result of any variation in rates of
exchange between the date of such award, judgment or order and the date of payment (or, in
the case of partial payments, the date of each partial payment thereof) in the required
currency

(c) Each of these indemnities shall constitute an obligation separate and independent
from the other obligations ined in this Application and Agi shail give rise to a
separate and independent cause of action, shall apply irrespective of any indulgence granted
by Bank of America from time to time, and shal] continue in full force and effect
notwithstanding any award, jud or order for a liquidated sum in respect of an amount
due under this Application and Agreement.

5. Governing Law and Rules. The Letter of Credit will be subject to, and performance
under the Letter of Credit by Bank of America, its correspond and the t jary will
be govemed by, the rules of the “International Standby Practices 1998” (“ISP98”) or such
later revision as may be published by the Institute of Intemational Banking Law & Practice,
subject to applicable laws, The Letter of Credit and this Application and Agreement shall be
governed by and construed under the laws of the state in the United States where Bank of
America issues the Letter of Credit, without reference to that state’s provisions regarding
conflicts of laws, to the jurisdiction of which the parties hereto submit. If the Letter of Credit
is not issued in any state, the law of the State of California will govern.

6. Applicant Status. The word “Applicant” in this Application and Agreement refers to
each signer (other than Bank of America) of this Application and Agreement. If this

(e) (i) All payments and deposits by Applicant under this Application and Agi
shall be in the currency in which the Letter of Credit is payable, except that Bank of
America may, at its option, require payments and deposits by Applicant under this
Application and Agreement to be made in U.S. Dollars if the Letter of Credit is payable ina
foreign currency.

(ii) The amount of each payment and each deposit by Applicant under this Application
and Agreement in U.S. Dollars for a Letter of Credit payable in a foreign currency shall be
determined by converting the relevant amount to U.S. Dollars at the Conversion Rate in
effect:

(A) with respect to each payment under Section | (a) of this Agreement, on the date
the payment is made by Bank of America under or in respect of the Letter of Credit; and
(B) with respect to each payment not falling under the preceding clause (A) and
each deposit, on the date of Bank of America’s demand for such payment or
deposit.

(ii) If a U.S. Dollar deposit by Applicant under this Application and Agreement for a
Letter of Credit payable in a foreign currency becomes less than the U.S. Dollar equivalent
of the undrawn amount of the Letter of Credit because of any variation in rates of exchange,
Applicant shall deposit with Bank of America, on demand, additional amounts in U.S.
Dollars so that the total amount deposited by Applicant under this Application and
Agreement is not less than the U.S. Dollar equivalent of the undrawn amount of the Letter of
Credit, determined by using the Conversion Rate on the date of Bank of America’s latest
demand.

(iv) “Conversion Rate” means the rate quoted by Bank of America for the purchase
from Bank of. America of the relevant foreign currency with U.S. Dollars.

(f) Ap shall reimt or Bank of America, on demand, for all costs
incurred, ‘losses suffered and payments made by Bank of America which are applied or
allocated by Bank of America to the Letter of Credit (as determined by Bank of America) by
reason of any and all present or future reserve, capital, deposit, assessment or similar
requirements against (or against any class of or change in or in the amount of) assets or
liabilities of, or commitments or extensions of credit by, Bank of America.

(g) Applicant shall pay interest, on demand, on any amount not paid when due under this
Application and Agreement from the due date until payment in full at a rate per annum equal
to the rate of interest publicly announced from time to time by Bank of America as its prime
rate, plus three percentage points (not to exceed the maximum rate permitted by applicable
law). The prime rate is set by Bank of America based on various factors, including Bank of
America’s costs and desired return, general economic conditions and other factors, and is
used as a reference point for pricing some credits. Bank of America may price credit at,
above or below the prime rate. Any change in Bank of America’s prime rate shall take effect
at the opening of business on the day specified in Bank of America’s public announcement
ofa change in Bank of America’s prime rate. Interest will be computed on the basis of a
360-day year and actual days elapsed.

2. Deposit Events. Upon the occurrence of any of the following events, Applicant shall
deposit with Bank of America, on demand (except that such demand shall not be required in
the event of an occurrence described in (b) below) and as cash security for Applicant’s
obligations to Bank of America under this Application and Agreement, an amount equal to
the undrawn amount of the Letter of Credit:

(a) Applicant defaults under any provision of this Application and Agreement;

(b) Any bankruptcy or similar proceeding is commenced with respect to Applicant;

(c) Any default occurs under any other agreement involving the borrowing of money
or the extension of credit under which Applicant may be obligated as borrower, installment
purchaser or guarantor, if such default consists of the failure to pay any indebt-edness when
due or if such default permits or causes the Jeration of any indebtedness or the
termination of any commitment to lend or to extend credit;

(d) Applicant or any of its affiliates defaults on any other obligation to Bank of
America;

(e) In the opinion of Bank of America, any material adverse change occurs in
Applicant’s business, operations, financial condition or ability to perform its obligati

Application and Ag is signed by more than one Applicant, their obligations under
this Application and Agreement shall be joint and several.

7. Representations and Warranties. Applicant represents and warrants to Bank of
America that it has the authority to enter into this Application and Agreement and that such
Agreement will not violate or conflict with any of the provisions of its constituent
documents or any other agreement or undertaking to which it is a party or to which it is
bound.

8. Miscellaneous.

(a) No delay, extension of time, renewal, iP or other i which may
occur or be granted by Bank of America shall impair the rights and powers of Bank of
America hereunder. Bank of America shall not be deemed to have waived any of its rights
hereunder, unless Bank of America shall have signed such waiver in writing.

(b) Any notice from Bank of America to Applicant shall be sent to the address of
Applicant set forth on the Application and shall be effective upon receipt by Applicant. Any
notice from Applicant to Bank of America shall be sent to the address of Bank of America
specified by Bank of America to Applicant and shall be effective upon receipt by Bank of
America.

(c) Each provision of this Application and Agreement shall be interpreted in such
manner as to be effective and valid under applicable law, but if any provision of this
Application and Agreement shall be prohibited by or invalid under applicable law, such
provision shall be ineffective only to the extent of such prohibition or invalidity, without
invalidating the remainder of such provision or the remaining provisions of this Application
and Agreement.

(d) Any and all payments made to Bank of America hereunder shall be made free and
clear of and without deduction for any present or future taxes, levies, imposts, deductions,
charges or withholdings, and all liabilities with respect thereto, excluding income or
franchise taxes imposed by the United States and any political subdivisions thereof (such
nonexchuded taxes being herein called “Taxes”). If Applicant shall be required by law to
deduct any Taxes from or in respect of any sum payable hereunder, (i) the sum payable shall
be increased as may be necessary so that after making all required deductions (including
deductions applicable to additional sums payable under this Section 8(d)), Bank of America
shall receive an amount equal to the sum Bank of America would have received had no such
deductions been made, (ii) Applicant shall make such deductions, and (iii) Applicant shall
pay the full amount deducted to the relevant authority in accordance with applicable law.
Applicant will indemnify Bank of America for the full amount of Taxes (including, without
limitation, any Taxes imposed by any jurisdiction on amounts payable under this Section
8(d)) paid by Bank of America and any liability (including penalties, interest and expenses)
arising therefrom or with respect thereto, whether or not such Taxes were correctly or
legally asserted. This indemnification shall be made within 30 days from the date Bank of
America makes written demand therefor. Within 30 days after the date of any payment of
Taxes, Applicant will fumish to Bank of America the original or a certified copy of a receipt
evidencing payment thereof.

(e) This Application and Agreement shall be binding upon Applicant, its successors
and assigns, and shall inure to the benefit of Bank of America, its successors, transferees and
assigns; provided that any assignment by Applicant of any of its rights or obligations under
this Application and Agreement without the prior written consent of Bank of America shall
be void.

(f} Unless the Applicant has specified in the Application that the wording of the Letter
of Credit must be exact, Applicant understands that the final form of the Letter of Credit
may vary from the wording specified in the Application, and Applicant authorizes Bank of
America to make such changes, not materially inconsistent with the Application, which
Bank of America deems necessary or appropriate. Applicant understands that the risk to
Applicant is greater if Applicant requests a standby letter of credit which requires only a
draft, rather than a standby letter of credit which requires supporting d

(g) In the event of any change or modification, with the consent of Applicant, which
consent may be given by any means of submission acceptable to Bank of America,
including, without limitation, computer, facsimile or telex, relative to the Letter of Credit or

dul

under this Application and Agreement;

(f) Any guarantee of Applicant’s obligations under this Application and Agreement
terminates, is revoked or its validity is contested by the guarantor, or any of the events set
forth in (6) through (e) above occur with respect to the guarantor rather than the Applicant;
or

(g) Any court order, injunction or other legal process is issued restraining or seek-ing
to restrain drawing or payment under the Letter of Credit.

3. Charge to Accounts. If Bank of America is unable to debit the account, if any,
specified on the Application, Applicant authorizes Bank of America to charge any of
Applicant’s accounts with Bank of America, or any affiliate of Bank of America, for all
amounts then due and payable to Bank of America under this Application and Agreement.

4. Indemnities.

(a) Applicant will indemnify and hold Bank of America (such term to include for
purposes of this Section 4 affiliates of Bank of America and its affiliates’ officers, directors,
employees and agents) harmless from and against (i) all loss or damage arising out of the
issuance by Bank of America, or any other action taken by any such indemnified party in
connection with the Letter of Credit including any loss or damage arising in whole or in part
from the negligence of the party seeking indemnification, but excluding any loss or damage
resulting from the gross negligence or willful misconduct of the party seeking
indemnification, and (fi) all costs and expenses {including reasonable attomeys’ fees and
allocated costs of in-house counsel and legal expenses) of al} claims or legal proceedings
arising out of the issuance by Bank of America of the Letter of Credit or incident to the
collection of amounts owed by Applicant hereunder or the enforcement of the rights of Bank
of America hereunder, including, without limitation, legal proceedings related to any court
order, injunction, or other process or decree restraining or seeking to restrain Bank of

any instrument called for hereunder, including any waiver made or in good faith believed by
Bank of America to have been made by Applicant of any term hereof or the noncompliance
of any such instruments with the terms of the Letter of Credit, this Application and
Agreement shal! be binding upon Applicant with regard to the Letter of Credit as so changed
or modified, and to any action taken by Bank of America or any of its correspondents
relative thereto. No term or provision of this Application and Agreement can be changed
orally, but only in a writing and signed by Applicant and Bank of America.

(h) Bank of America assumes no liability or responsibility for the consequences
arising out of delay and/or loss in transit of any letter or d ion, or for
delay, mutilation or other error arising in the tr ission of any tel ission. In no
event shall Bank of America be liable for any special, indirect, consequential or exemplary
damages.

(i) If Applicant includes in the Application any language describing events or
conditions that would not be possible for Bank of America to verify solely from the

ired to be p d under the Letter of Credit, Applicant acknowledges and
agrees that Bank of America has no obligation to verify i with such i

NOTICE OF FINAL AGREEMENT. THIS WRITTEN AGREEMENT
REPRESENTS THE FINAL AGREEMENT BETWEEN THE PARTIES AND MAY
NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS
OR SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES. THERE ARE NO
UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES.

This Application and Agreement is d by Appli on

ge 3 of 4

Case 01-01139-AMC. Doc 21752-2 Filed 05/19/09-_Page.4 of 4

Name of Applicant FOR OFFICE USEGNLY
05-35-0521BW:  (-] Trade Operations Mail Code#
By: Title COMMISSION (Per Standard Fee Schedule © (Other (1 Charge Banking Center
1 Charge Directly (J Commissions and Charges Gi Orawings, Commissions
- . ——— only and Charges

Name of Applicant (if any, co-signing with the Applicant above) APPROVING OFFICER (Printed Name) PHONE #
By: Tile OFFICER TELEPHONE # FAX#

(WHERE SPECIMEN SIGNATURES OF THE APPLICANT NAMED ABOVE ARE NOT ON FILE WITH BANK
OF AMERICA, THE FOLOWING SIGNATURE VERIFICATION IS REQUIRED.)

The above signature of an officer, partner or agent of each Applicant indicated above confirms to that on file
with us and such officer, partner or agent is fully authorized to sign this Agreement for such Applicant.

DDA APPLICANT AIC #

APPROVING BANK OFFICER SIGNATURE

OFFICER - INTEROFFICE ADDRESS

By: BANK (Full Name) (Bank Address)

Authorized Signature/Title (Specimen signature of the signer must be on file with Bank of America) OFFICER NUMBER AND COST CENTER NUMBER

05-35-0521BW 05-2001

Bank of America, N.A.

